Case 1:09-cr-10264-EFH Document 19 Filed 05/27/10 Page 1 of 11

& AO 245B(05-MA) (Rev. 06/05) Judgment in a Criminal Case
Sheet | - D. Massachusetts - 10/05

UNITED STATES DISTRICT COURT

District of Massachusetts

UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE
V.
Case Number: 1: 09 CR 10264 - 001 - EFH
JOSEPH L. VASAPOLLO, JR. USM Number: 27464-038
David Duncan, Esq.

Defendant's Attomey .
[J Additional documents attach -

O

THE DEFENDANT:
pleaded guilty to count(s) 1-4 -

pleaded nolo contendere to count(s)
which was accepted by the court.

Cc was found guilty on count(s}
after a plea of not guilty.

The defendant is adjudicated guilty of these offenses: Additional Counts - See continuation page C]
Title & Section Nature of Offense Offense Ended Count
18 USC § 1951] & 2 Attempted Extortion Under Color of Official Right 12/10/08 1-3
18USC§666(a)(1}(B)&2 Federal Program Bribery 12/10/08 4

The defendant is sentenced as provided in pages 2 through u of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.

C] The defendant has been found not guilty on count(s)
[__] Count(s) CT] is [_]are dismissed on the motion of the United States,

__ Itis ordered that the defendant must notify the United States attomey for this district within 30 days of any change of name, residenc '
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitutio
the defendant must notify the court and United States attorney of material changes in economic circumstances.

04/28/10 yy

© Signature of Judge

The Honorable Edward F. Harrington

Senior Judge, U.S. District Court
Name and Title of Judge

(S- 2RP-LfO

Date
Case 1:09-cr-10264-EFH Document 19 Filed 05/27/10 Page 2 of 11

&, AQ 245B(05-MA) (Rev. 06/05) Judgment in a Criminal Case
Sheet 2 - D. Massachusetts - 10/05

Judgment — Page 2 of 11

DEFENDANT:
CASE NUMBER: 1: 09 CR 10264 - 001 - EFH

IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a

total term of: year and a day

The defendant is sentenced to the custody of the Bureau of Prisons for a term of a 12 months and one (1) day.

The court makes the following recommendations to the Bureau of Prisons:

That the defendant serve his sentence at FMC Devens, Massachusetts.

C] The defendant is remanded to the custody of the United States Marshal.

C] The defendant shal! surrender to the United States Marshal for this district:

[Jat Oo am. (] pm. on
[Jas notified by the United States Marshal.

The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

before 2 p.m.on (06/09/10
[] as notified by the United States Marshal.

[| as notified by the Probation or Pretrial Services Office.

RETURN
T have executed this judgment as follows:
Defendant delivered on to
a , with a certified copy of this judgment.
UNITED STATES MARSHAL
By

DEPUTY UNITED STATES MARSHAL
Case 1:09-cr-10264-EFH Document 19 Filed 05/27/10 Page 3 of 11

®.A0 245B(05-MA) (Rey. 06/05) Judgment in a Criminal Case
Sheet 3 - D, Massachusetts - 10/05

Judgment—Page __3_—sooff 14

DEFENDANT:
CASE NUMBER: 1: 09 CR 10264 - 001 - EFH

SUPERVISED RELEASE See continuation page
Upon release from imprisonment, the defendant shall be on supervised release for a term of : 24 month(s)

The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from th
custody of the Bureau of Prisons.

The defendant shall not commit another federal, state or local crime.

The defendant shal] not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, not to exceed 104 tests per year, as directed by the probation officer.

The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
future substance abuse. (Check, if applicable.)

The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
The defendant shal! cooperate in the collection of DNA as directed by the probation officer, (Check, if applicable,}

The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
student, as directed by the probation officer. (Check, if applicable.)

LILINNWN

The defendant shal! participate in an approved program for domestic violence. (Check, if applicable.)

If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.

The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditior.
on the attached page.

STANDARD CONDITIONS OF SUPERVISION

1) the defendant shall not leave the judicial district without the permission of the court or probation officer;

2) the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days c:!
each month;

3) the defendant shal! answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
4) the defendant shall support his or her dependents and meet other family responsibilities;

5) the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or othe
acceptable reasons;

6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;

7} the defendant shall refrain from excessive use of alcohol and shal] not purchase, possess, use, distribute, or administer any
controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;

8) the defendant shal! not frequent places where controlled substances are illegally sold, used, distributed, or administered:

9) the defendant shall not associate with any persons engaged in criminal activity and shal] not associate with any person convicted of ..
felony, unless granted permission to do so by the probation officer;

10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of an:
contraband observed in plain view of the probation officer;

11) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer

12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without th.
permission of the court; and

13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s crimina

record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm th
defendant’s compliance with such notification requirement,
Case 1:09-cr-10264-EFH Document 19 Filed 05/27/10 Page 4 of 11

AO 245B(05-MA) (Rev. 06/05) Judgment in a Criminal Case
Sheet 4A - Continuation Page - Supervised Release/Probation -10/05

Judgment—Page 4. of

DEFENDANT:
CASE NUMBER: 1: 09 CR 10264 - 001 - EFH

ADDITIONALIY] SUPERVISED RELEASEL]PROBATION TERMS

**Special conditions of supervised release are:

1. Defendant shall not commit another federal, state or local crime, and shall not illegally
possess a controlled substance.

2. Drug testing conditions are suspended based on the Court’s determination that the
defendant poses a low risk of substance abuse.

3. Defendant shall submit to the collection of a DNA sample as directed by the Probation
Office.

4, Defendant shall comply with the standard conditions that have been adopted by the Court
which are described at U.S.S.G. § 5D1.3(c) and will be set forth in detail on the judgment.
5. Defendant is prohibited from possessing a firearm, destructive device or other dangerous
weapon.

6. The Court enters an Order of Forfeiture in the amount of $4,000.00.

Continuation of Conditions of [_]Supervised Release [J] Probation
Case 1:09-cr-10264-EFH Document 19 Filed 05/27/10 Page 5 of 11

® AO 245B(05-MA) (Rev. 06/05) Judgment in a Criminal Case
Sheet 5 - D. Massachusetts - 10/05 .

Judgment — Page ve

DEFENDANT:
CASE NUMBER: !: 09 CR 10264 - 001 - EFH

CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

Assessment Fine Restitution
TOTALS $ $400.00 S $
The determination of restitution ts deferred until . An Amended Judgment in a Criminal Case (AO 245C) will be entere

after such determination.
[| The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

If the defendant makes a partial payment, each payee shall receive an approximately pro ortioned payment, unless specified otherwise 1
the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(1), all nonfederal victims mustbep J
before the United States is paid.

Name of Payee Total Loss* Restitution Ordered Priority or Percentage

LI See Continuation
Page

TOTALS $ $0.00 $ $0.00

[ Restitution amount ordered pursuant to plea agreement §$

| The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

[| The court determined that the defendant does not have the ability to pay interest and it is ordered that:
[| the interest requirement is waived for the C] fine [[] restitution.

[_] the interest requirement forthe [7] fine [[] restitution is modified as follows:

* Findings for the total amount of losses are required under Chapters LO9A, 110, L10A, and 113A of Title 18 fe i
September 13, 1994, but before April 23, 1996. P on or offenses committed on or afte
Case 1:09-cr-10264-EFH Document 19 Filed 05/27/10 Page 6 of 11

AO 245B(0S-MA) (Rev. 06/05) Judgment in a Criminal Case
Sheet 5A - D Massachusetts - 10/05

Judgment—Page __ 6

of

DEFENDANT:
CASE NUMBER: 1: 09 CR 10264 - 001 - EFH

ADDITIONAL TERMS FOR CRIMINAL MONETARY PENALTIES

***See attached Order of Forfeiture.
Case 1:09-cr-10264-EFH Document 19 Filed 05/27/10 Page 7 of 11

® AO 245B(05-MA) (Rev. 06/05) Judgment in a Criminal Case
Sheet 6 - D. Massachusetts - 10/05

Judgment — Page 7 of 4

DEFENDANT:
CASE NUMBER: 1: 09 CR 10264 - 001 - EFH

SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

A [x] Lump sum payment of $ $400.00 due immediately, balance due

L] not later than

, Or
C] in accordance C] C, [] D, C] E, or (]F below; or

B Payment to begin immediately (may be combined with CT] Cc, C] D, or C] F below); or
Cc Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of
(e.g., months or years), to commence (e.g., 30 or 60 days) after the date of this judgment; or
Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of
(e.g., months or years}, to commence (e.g,, 30 or 60 days) after release from imprisonment to a

term of supervision; or

Payment during the term of supervised release will commence within (e.g., 30 or 60 days) after release from
imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

OO OF oO

Special instructions regarding the payment of criminal monetary penalties:

Unless the court has expressly ordered otherwise, ifthis judgment imposes imprisonment, ayment of criminal monetary penalties is due durin,
imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate Financi:.
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

[_ooint and Several LC See Continui cn
Page

Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
and corresponding payee, if appropriate.

[| the defendant shall pay the cost of prosecution.
[yt defendant shall pay the following court cost(s):

[yi defendant shall forfeit the defendant’s interest in the following property to the United States:

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal
(3) fine interest, (6) community restitution, (7) penattioe and (8) costs, including cost of posecation and court Cost. P pe
Case 1:09-cr-10264-EFH Document 19 Filed 05/27/10 Page 8 of 11

AQ 245B (Rev. 06/05) Criminal Judgment
Attachment (Page |} — Statement of Reasons - D. Massachusetts - 10/05

Judgment— Page 8 of |]

DEFENDANT:
CASE NUMBER: 1: 09 CR 10264 - 001 - EFH
DISTRICT: MASSACHUSETTS

STATEMENT OF REASONS

I COURT FINDINGS ON PRESENTENCE INVESTIGATION REPORT

AO The court adopts the presentence investigation report without change.

B iw The court adopts the presenten ce investigation report with the following changes.

(Check all that apply and specify court determination, findings, or comments, referencing paragraph numbers in the presentence report, if applicable.)
(Use Section VIII if necessary.)

1 w Chapter Two of the U.S.S.G. Manual determinations by court (including changes te base offense level, or
specific offense characteristics):

Did not apply the enhancements in paragraphs 25 and 26.

2 [1 Chapter Three of the U.S.S.G. Manual determinations by court (including changes to victum-related adjustments,
role in the offense, obstruction of justice, multiple counts, or acceptance of responsibility):

3 oO Chapter Four of the U.S.S.G. Manual determinations by court (including changes to criminal history category or
scores, career offender, or criminal livelihood determinations}:

4 C] Additional Comments or Findings (including comments or factual findings concerning certain information in the

presentence report that the Federal Bureau of Pnsons may rely on when it makes inmate classification, designation,
or programming decisions):

c O The record establishes no need for a presentence investigation report pursuant to Fed.R.Crim.P, 32.

II COURT FINDING ON MANDATORY MINIMUM SENTENCE (Check all that apply.)
A iw No count of conviction carries a mandatory minimum sentence.

B O Mandatory minimum sentence imposed.

ec O One or more counts of conviction alleged in the indictment carry a mandatory minimum term of imprisonment, but the
sentence imposed is below a mandatory minimum term because the court has determined that the mandatory minimum
dees not apply based on
C1 findings of fact in this case
C1 substantial assistance (18 U.S.C. § 3553(e))
1 the statutory safety valve (18 US.C. § 3553(1)

If COURT DETERMINATION OF ADVISORY GUIDELINE RANGE (BEFORE DEPARTURES):

Total Offense Level: 15

Criminal History Category: !

Imprisonment Range: 18 to 24 months
Supervised Release Range: 2 to 3 years
Fine Range: $ 4.000 to $ 40,000

[A Fine waived or below the guideline range because of inability to pay.
’

Case 1:09-cr-10264-EFH Document 19 Filed 05/27/10 Page 9 of 11

AO 245B (05-MA) (Rev 06/05) Criminal Judgment
Attachment (Page 2) — Statement of Reasons - D. Massachusetts - 10/05

DEFENDANT:
CASE NUMBER: 1: 09 CR 10264 - 001 - EFH
DISTRICT: MASSACHUSETTS
STATEMENT OF REASONS
IV. ADVISORY GUIDELINE SENTENCING DETERMINATION (Check only one.)

O OOOOOOOO

AU
BO

(Use Section VIII if necessary.)
c O

dDY

{Also complete Section V.)

Judgment— Page 9 of 1!

The sentence is within an advisory guideline range that is not greater than 24 months, and the court finds no reason to depart

The sentence is within an advisory guideline range that is greater than 24 months, and the specific sentence is imposed for these reasons.

The court departs from the advisory guideline range for reasons authorized by the sentencing guidelines manual.

The court imposed a sentence outside the advisory sentencing guideline system. (Also complete Section VI }

DEPARTURES AUTHORIZED BY THE ADVISORY SENTENCING GUIDELINES (17 applicable.)

A The sentence imposed departs (Check only one.):
L] below the advisory guideline range
(_] above the advisory guideline range

B Departure based on (Check all that apply.):

I

Plea Agreement (Check all that apply and check reason(s) below.):

DNOOoOO

5K 1.1 plea agreement based on the defendant’s substantial assistance
5K3.1 plea agreement based on Early Disposition or “Fast-track” Program
binding plea agreement for departure accepted by the court
plea agreement for departure, which the court finds to be reasonable
plea agreement that states that the government will not oppose a defense departure motion,

Motion Not Addressed in a Plea Agreement (Check all that apply and check reason(s) below.):
(J 5Kt.! government motion based on the defendant’s substantial assistance
LJ 5K3.1 government motion based on Early Disposition or “Fast-track” program

LJ government motion for departure

[) defense motion for departure to which the government did not object

(]_ defense motion for departure to which the government objected

Other

(J Other than a plea agreement or motion by the parties for departure (Check reason(s) below.,):

C  Reason(s) for Departure (Check all that apply other than 5K 1.1 or 5K3.1.)

4A13
SHt.|
5H1.2
SHI3
SHI 4
SHI 5
SHI.6
5H1.1]

5K2.0

D

Criminal] History Inadequacy

Age

Education and Vocational Skills

Mental and Emotional Condition
Physical Condition

Employment Record

Family Ties and Responsibilines

Military Record, Charitable Service,
Good Works

Aggrayating or Mitigating Circumstances

OOOOOOOOOO

5K2.1
5K2.2
5K2.3
5K24
5K2 5
3K2 6
5K27
5K2.8
5K2.9
5K2.10

Death

Physical Injury

Extreme Psychological Injury
Abduction or Unlawful Restraint
Property Damage or Loss

Weapon or Dangerous Weapon
Disruption of Government Function
Extreme Conduct

Criminal Purpose

Victim's Conduct

Explain the facts justifying the departure. (Use Section VIII if necessary.)

OOOOOOOOOUOOO

5K2.11 Lesser Harm

5K2.12 Coercion and Duress

$K2.13 Diminished Capacity

$K2 14 Public Welfare

5K2.16 Voluntary Disclosure of Offense
5K2 17 High-Capacity. Semiautomatic Weapor
5K2 18 Violent Street Gang

5K2 20 Aberrant Behavior

5K2.21 Dismissed and Uncharged Conduct
5K2.22 Age or Health of Sex Offenders

5K2 23 Discharged Terms of Imprisonment
Other guideline basis (e.g., 2B1.] commentary)
Case 1:09-cr-10264-EFH Document 19 Filed 05/27/10 Page 10 of 11

*

AO 245B (05-MA) (Rev. 06/05) Criminal Judgment
Attachment (Page 3}—— Statement of Reasons - D. Massachusetts 10/05

DEFENDANT: Judgment—-Page 10 of 11
CASE NUMBER: 1; 09 CR 10264 - 001 - EFH
DISTRICT: MASSACHUSETTS

STATEMENT OF REASONS

VI COURT DETERMINATION FOR SENTENCE OUTSIDE THE ADVISORY GUIDELINE SYSTEM
(Check all that apply.)
A The sentence imposed is (Check only one.):
~£] below the advisory guideline range
DL above the advisory guideline range

B__ Sentence imposed pursuant to (Check all that apply.):

i Plea Agreement (Check all that apply and check reason(s) below. }:
(] __sbinding plea agreement for a sentence outside the advisory guideline system accepted by the court
[1] __ plea agreement for a sentence outside the advisory guideline system, which the court finds to be reasonable

[] _ plea agreement that states that the government will not oppose a defense motion to the court to sentence outside the advisory guideline
system

2 Motion Not Addressed in a Plea Agreement (Check all that apply and check reason(s) below.):
[J government motion for a sentence outside of the advisory guideline system

[_. defense motion for a sentence outside of the advisory guideline system to which the government did not object
{/|_ defense motion for a sentence outside of the advisory guideline system to which the government objected

3 Other

(1 _— Other than a plea agreement or motion by the parties for a sentence outside of the advisory guideline system (Check reason(s) below ),

C — Reason(s) for Sentence Outside the Advisory Guideline System (Check all that apply.}

the nature and circumstances of the offense and the history and characteristics of the defendant pursuant to 18 USC. § 3553(a}(1)

to reflect the seriousness of the offense, to promote respect for the law, and to provide yusl punishment for the offense (18 U.S.C. § 3553(a\(2}(A))
to afford adequate deterrence to criminal conduct (18 U.S.C § 3553(a\(2)(B))

to protect the public from further crimes of the defendant (18 U.S.C. § 3553(a}(2)(C))

to provide the defendant with needed educational or vocational training, medical care, or other correctional treatment in the most effective manner
(18 U.S.C. § 3553(a2,D))

to avoid unwarranted sentencing disparities among defendants (18 U.S.C. § 3553(a}(6))

OOo ooogds

to provide restitution to any victims of the offense (18 U.S.C. § 3553(a\(7))

Explain the facts justifying a sentence outside the advisory guideline system. (UseSection VIII if necessary.)

The Court sentences the defendant based on the finding that there was only one bribe reduces the sentence based on the

defendant's medical condition. Also, the defendant was at the end of a lengthy esteemed career before committing the
offense.
Case 1:09-cr-10264-EFH Document 19 Filed 05/27/10 Page 11 of 11

AO 245B (05-MA) (Rev. 06/05) Criminal Judgment
Attachment (Page 4) — Statement of Reasons - D. Massachusetts - 10/05

DEFENDANT: Judgment — Page 44 of 11
CASE NUMBER: 1: 09 CR 10264 - 001 - EFH
DISTRICT: MASSACHUSETTS

STATEMENT OF REASONS

VII COURT DETERMINATIONS OF RESTITUTION
A 7) Restitution Not Applicable.

B Total Amount of Restitution:

C Restitution not ordered (Check only one.):

] C1 For offenses for which restitution is otherwise mandatory under |8 U.S.C. § 3663A, restitution is not ordered because the number of
identifiable victims is so large as to make restitution impracticable under 18 U.S.C. § 3663A(c)(3 (A).

2 [1 For offenses for which restitution is otherwise mandatory under 18 U.S.C § 3663A, restitution is not ordered because determining complex

issues of fact and relating them to the cause or amount of the victims’ losses would complicate or prolong the sentencing process to a degree
that the need to provide restitution to any victim would be outweighed by the burden on the sentencing process under 18 U.S.C. § 3663A(cX3XB

3 [] For other offenses for which restitution is authorized under 18 U S.C. § 3663 and/or required by the sentencing guidelines, restitution is not

ordered because the complication and prolongation of the sentencing process resulting ftom the fashioning of a restitution order outweigh
the need to provide restitution to any vicums under 18 USC. § 3663(a)( I (BY).

&

[1 Restitution is not ordered for other reasons. (Explain.)

D (2 Partial restitution is ordered for these reasons (18 U.S.C. § 3553(c¢)):

VINWT ADDITIONAL FACTS JUSTIFYING THE SENTENCE IN THIS CASE (If applicable.)

Sections I, II, II, 1V, and VI of the Statement of Reasons form must be completed in all felony cases.

Defendant's Soc. Sec. No. _000-00-7683 Date of Imposition of Judgment

04/28A) ,

Defendant's Date of Birth; _ 0/00/42 epi FZ, l , S41
- > 7 '

Defendant’s Residence Address: Brockton, MA Signature of Judge
The Honorable Edward F. Harrington Senior Jedge, U.S. Distric ¢ surt

Name and Title of Judoe A
Brockton, M. . _ — se
rockton, MA Date Signed Cs 7 “/ € |

Defendant’s Mailing Address:

